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                         12-80364-CIV-MARRA/BRANNON
           lN TIIE UM TED STATES DISY CT COURT FOR THE SOUTHERN
                DISTRICT bF FLOD A W EST PALM BEACH DW ISION

      JOH N K O RM AN ,                )
      PrivateAttorney General,                                  FILCD by             D.C.
                                       )
                           Petitioner, )                           AFq 25 2212
     A                                 )
       IJRORA LOAN SERW CES LLC;       )                           STEVEN M LARIMDRE
                                                                   CLD.
                                                                   s.ERoF
                                                                       KuF'1b
                                                                            ..â
                                                                               DlsmcT.
                                                                               .-W.RB.
     OFFICE OF CEO,AND PRES OF AUROM ;)
     AURORA BANK FSB;                  )
     M ERSCORP H OLDG GS,m C;          )
     M ORTGAGE ELECTROM C              )              CIW L RIGH TS 1983 W OLA TION
     REGISTM TION SYSTEM S m C;        )                       FORGERY
     LETIM AN BROTHERS HOLDG GS,m C; )                          U SUR Y
     LETIM AN BROTHERS BANK,FSB;       )                   CM L CONSPIM CY
     LEHM AN BROTHERS,m C;             )                    STELLIONATION
     LEH M AN BROTHEM BANCORP INC; )                       G TRINSIC FR AIJD
     LEH M AN XS TRUST 2006-111        )                 ATTEM PTED LARCEN Y
     STRUCTTTRED ASSET SECURIH ES      )              FM UDULENT CO NVERSION
     CORPORATION;                      )                 CON STRUCTIVE FR AUD
     LA SA LLE BAM N.A.asTR USTEE;                        VIO LATION O F FDCPA
     U.S.BA NCO RP assuccessorTRU STEE;                   VIOLATION OF TCPA
     A SSO CIATES LAe H TLE > C;                          W O LATION O F FCM
     TH EO DO RE SCH IJLTZ,lndividual;                   W OLATIO N OF FD U TPA
     LAIJR A M CCANN,Individual;                              M AII,FRAIJD
     CYNTHIA W ALLACE,lndividual;                 )           W IRE FM UD
    JOAN N R EIN,Individual;                                  IJTTEU       G
    LA W OFFICE O F DAVD J.STE R N P.A .;                       11.1.(2.(:.
    DAVID JAM ES STERN Esquire;                         FR AUDULENT EVDUCENG NT
    K ARO L S.PIER CE,Esquire;                                FALSE CLAUW
    CA SSAN DR A RACINE-W G AUD ,Esquire;                   M ORTGAGE FR AUD
    M ISW BARN ES,Esquire;                              PROFESSIONAL N EG IGENCE
    D AR I,I'
            N E D R T Z,N otary;
    JOIIN DOE 1- 100;                             )          DEM AND FO R JIJR Y
    JAM DOE 1- 1001                               )                 T RIA L
                                 Defendants.      )            FH .R.CM P.38(b)
                                                  /
          VERIFV D COM PLM NT FO R DECLAR ATO RY AN D O TH ER RELR F

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                    COM E NOW ,JOHN KORM AN,PrivateAttorneyGeneral(hereinaAer
      çtpetitioner''),filethisVerified-complaintseeking,interalia,Declaratory Judgment,
      disgorgem entofill-gotten-gain,recoupm ent,com pensatory dam ages, generaldam ages,

      or/and punitive dam ages,in favorofPetitioner,and otherAm ericanssim ilarly situated,

      based on the following allegationsl1l,m ade from personalknow ledge, research,Certified

      Exhibits,inform ation and belief,demand forJury Trial, testify to the follow ing under

      penalty ofperjury;
                                        VERIFIED C OM PLA INT
                                         1. IN TRO DUCTIO N

      1.            This case arises interalia due to D efendantA U R O R A LO AN SERV ICE S

     LLC (hereinaAertW URORA''Icommenced aforeclosureaction in itsownname,forits
     own bene/t,acting in thecapacity ofReal-party-ln-lnterest, H older-in-D ue-course,

     facilitated by fabricating a colorable A ssignm ent, also,DefendantAIJRORA etaI.,did

     provide verified testim ony in an um elated legalaction, testim ony know n to be false atthe

     tim e said statem entw asrecorded and subsequently verified, resulting in an actof

     lntrinsicFraud asgravam en;predicated on thispriorfoundational statem ent, Petitioner

     filesthisAction againstthe follow ing parties,active participantsin CivilFraud, either

    jointly,orseverally,includingbutnotnecessarily limitedtothefollowingDefendants;

           Petitioner reserveaIIrightsto am end thisComplaint,add orseek otherreliefagainst
     om cersor directorsofDefendantsinvolved in fraud.orotEerAction alleged Eereinafter;
     (*1Term d
              efilled,videin#a,from page2l3etseq.


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      AURORA LOAN SERVICES LLC;OCCUPAN T oftheOftk e ofCHIEF EXECUTIVE

      OFFICER and PRESIDENT ofA UROM           LOAN SERVICES LLC atalltim e relevant

      THOM AS L.W IND (hereinaAerCETOM W 1ND'')orSUCCESSOR;AURORA BANK
      FSB;G RSCORP HOLDINGS,INC CCM ERSCORF'I;M ORTGAGE ELECTROM C
      REGISTM TION SYSTEM S INC CçM ERS*'');LEIIM AN BROTHERS BAN K,FSB;
      LEHM AN BROTHERS HOLD INGS,INC ;STRUCTURED ASSET SECURITIES

      CORPORATION ;LEIM         N XS TRU ST M ORTGAGE PA SS-M           O UGH

      CERTIFICATES,SERIES 2006-11;U .S.BANK CORP asTRU STEE,successorin

      interestto LASALLE BAN K N ATION AL A SSOCIATION ;A SSOCIATES LAN D

      TITLE IN C;THEOD ORE SCHULTZ;JOANN REIN;LAURA M CCAN N;CY NTHIA

      W ALLACE,a/k/a CIN DY W M LACE;LA W OFFICE OF DA VID J.STERN P.A .;

     D AV ID JAM ES STERN Esquire;KAROL S PIERCE Esquire;CASSAN DM RACIN E-

     R IG A U D Esquire;V STY BA RN ES Esquire;John D oe 1 - 100,Jane D oe 1- 100,

     (hereinaAercollectively ttDEFENDANT'');as
     2.           DEFENDANT jointlyorseverally devisedawellplanned schemeto willfully
     and know ingly conspire to comm itCivilFraud againstPetitionerand otherAm ericans

     sim ilarly situated;

     3.           AU R O R A c/al.,have com m itted Fraud upon the C ourtby and through

     Attorney ofrecord,whetherby silencewhen therew asa duty to speak,orby af/rm ative

     A ct;



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      4.           Alleged Fraud by AU RORA issystem ic and continuing as an ongoing-

      criminal-enterpriseE*1see 18IJ.s.c .9225,which generatesmorethan Five-M illion

      ($5,000,000.00)in any twentpfour(24)month period ofoperation.
      5.           DefendantAURORA isnottheoriginalLender;seeBAC Fpndinz

      Consortium lne.v.Jean-lacques,2010W L 476641(F1a.2ndDCA 2010).
      6.           DefendantLEHM AN BROTHERS BAN K FSB isoriginalLenderofrecord;

      w hereby,

                   Petitionerholdspublicly recorded adm issibleevidence show ing Defendant

      AUROR A assigned Petitioner'sProm issory-NoW and M ortgageto itself, awhileLender

     ofrecord LEHM AN BROTHERS BAN K FSB isunderbanknlptcy protection, w hich

     Petitionerbelievesisavoid assignm entreading 11U .S C.j 544(a)(3);furthermore,
                                                              .




     8.            A ssignm entisa fraudulentTransfer,orFraudulentConveyance;see U . S.C.

      11jj 548and 549.
     9.            Unbeknownstto Petitionerattim e ofClosing,Septem ber29th2006,

     LEHM AN BR O TH ER S BA N K FSB did presale Petitioner'sM ortgage-N o rfE is w ith al1

     ofitsright,title and interestthereto LE         BROTHERS HOLDINGS lNC ., before

     theink dried on Petitioner'soncew etink signam re;and,

     10.          copy ofacopy ofPetitioner'sProm issorp No'rE DefendantAURORA

     alleges to H old is m aterially altered from the copy PetitionerH olds, received post-

     Closing(*1,. SeeççExhibitZ''hereto attached and incorporated herein by reference;



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          11.       D efendantA U R OR A 'S altered copy ofa copy ofPetitioner's alleged N O TE,

      lastpage,displaysa Special-lndorsem entC*1from Loan Originator, as D raw erLEH M AN

      BROTHERS BAN K FSB setoverand deposited saidN OTE with LEIIM AN

      BROTHERS HOLDINGS lNC.,asDrawee,thereaAerLEHM AN BROTX RS

      H O LD IN G S lN C .,intentionally indorsed the N O TE to ççno-one'';See U niform

      CommercialCode(t<U.C.C.'')j3-205(a).
      12.           Petitionercom esto discoverLEHM AN BROTIIERS BAN K FSB isbuta

      pass-through Entity, a Straw m an C*1doing ttthe deal''forLEHM AN BROTHERS

      H O LD IN G S IN C ;thereafter,

      13.           Prom issorp N o 'rE in question,pursuantto the related Pooling and Servicing

      A greem ent,isto be furtherconveyed from LEHM AN BROTIIERS HOLD IN GS lN C.,

      asAssignor,ultim ately re-designated setoverto a Real-Estate-M odgage-lnvestm ent-

      Conduit(<&REM 1C''),titledLEIIM AN XS TRUST M ORTGAGE PASS-THROUGH
      CERTIFICATES,SERIES 2006-11astheultim ateA ssignee,executed on orbefore July

      31St2006 orwithin ninety(90)daysthereafterin accord with Section 86017ofthe
      lnternalRevenue Code of1986;

      14.           D efendantA U R OR A com m enced a sham action againstPetitionerM ay 15th

      2009,CaseN O.50-2009-CA-017057-XXXX -% ,IN 'I'IIE CIRCUIT COURT OF 'ITIE

     FIFTEENTH JUDICIM CIRCUIT,IN Ar                 FOR PALM BEACH COUNTY ,

     FLO RID A ,to foreclose on Petitioner'sonce M ortgaged property;



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          15.       sham action em ploysthe Courtsystem to facilitateLarceny;furtherm ore,

          16.       AUROR A caused to beexecuted and recorded two colorableassignm ents

      forthe sam eM ortgage,done by itsem ployee who knew orshould have known

      LEHM AN BROTHER S BAN K FSB asalleged loan Originatorno longerheld right, title

      norinterestin saidM ortgagein question,inka,also seeçGBankTransferAgreements''
      (notavailableatthistime);         ermore,
      17.           D efendantAURORA etal.,did comm itaw illfulact, twice,to legally (sicj

     perpetratean actofExtrinsicFraud againstDefendantupon fabricating tw o colorable

     A ssignm ents;

      18.           recording said Assignm entswith the Clerk oftheCourtcom mitted an actof
     Intrinsic Fraud by U ttering :*1-
                                     ,
                                       as,

     19.            each Assignmentlack a legalfoundation;finding,

     20.           veritied:*1recorded agreem entfound in thepublicdom ain, Gled with the

     Securitiesand Exchange Com m ission titled CCTRU ST A GREEM EN T''wherein

     LEIIM AN BROTX RS H OLD ING S IN C and AURORA asM asterServicerisaparty

     thereto;

     21.           Undersaid TRUST A GREEW NT AU ROM            know s, orshould have

    known,Petitioner'sM ortgage-No'
                                  rE (thesameM ortgage-No'rE AUROM 'SAssistant
    VicePresidenta/k/aCertifying OfficerofM ERS*co1orably assigned)islegally /
    contractually collateralheld by LEHM AN XS TRU ST M ORTGAGE PA SS-THROU GH



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      CERTIFICATES,SERIES 2006-11'sTrustee,(constm ctivelyHolding BareLegalTitle)
      in trustforthebenefitoftheEscertifkate-llolder,''(tl-loldingBenetk ial-lnterest)
      (ttcertificate-llolder''ttsecurity-Holder''orttBoNlql-l-lolder''termsused synonymouslyl),
      asofthetdclosing-DateJuly31st20067'(orwithin 90 daysthereafter);furthermore,
      17.          Petitioner'sProm issory-N oW oncetransferred,and those ofothers

      sim ilarly situated,setoverto LEHM AN X S TRU ST M O R TG A G E PA SS-TH R O U G H

      CERTIFICATES,SERIES 2006-11'sTrustee,LEHM AN BROTHERS BAN K FSB is

      no longerHolder-in-Due-course asam atteroflaw,and isno longerin Privity w ith the

     B orrow er.

      18.          JO AN N REIN acting in the capacity ofV ice-president, executed the first

     oftw o colorable A ssignm ents from A ssignorLEH M A N B RO TH ERS B AN K FSB ,

     allegedly assigned Petitioner'sM ortgage and N OTE to AURORA July 91 2008;

     19.           which isalmosttwo (2)yearsafterLEHM AN XS TRUST M ORTGAGE
     PASS-TIIROU GH CERTIFICATES SERIES 2006-11'sClosing-Datecs m aking the

     alleged negotiation illegal,underN ew York TrustLaw .

     20.           A forem entioned un-recorded A ssignm entwasem ployed by A URORA as

    primafasciaevidence(asanExhibit)toshow Standing in CaseNO.07-80998-C1V-
     RY SKAM P /VITUNA C,IN TIIE UM TED STATES D ISTRICT COURT FOR Tlv

     SOUTIIERN DISTRICT OF FLO RID A,Action comm enced October22nd 2007;




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      21.         D efendantA U R OR A,by and through itsem ployee A ssistantV ice

      PresidentLAURA M ccA> ,joinedwith co-workerCYNTHIA W ALLACE,a/k/a
      CIN D Y W M LA CE w ho occupies an O ffice in the D efaultR esolution D epartm ent,

      jointlyorseverally committedan actoflntrinsicFraudagainstPetitionerintheFederal
      Courtsystem byproviding perjuredtestimony inCaseNO.07-80998-ClV-RYSKAM P
      /V ITUNAC,which LAURA M CCANN ,and co-w orkerCYNTIIIA W ALLACE,a/k/a

      CIN D Y W A LLA CE knew w ere false statem ents atthe tim e theirstatem ents w ere

      recorded and subsequently verified underseal;

      22.         Testified AURORA w asHolderin possession ofPetitioner'shand scribed

      oncew etink signature found on thegenuineM ortgage-N o'rE in question;

      23.         D efendantAURORA efal.,testiled the genuineM ortgage-N o'rE isunder

      itscare,custody and controlasof 12th ofD ecem ber2008;see ttExhibitA''hereto

      attached and incom orated herein by referencetitled EW URORA LOAN SERV ICES

     INTERROG ATORY AN SW ERS,''with unrecorded assignm entattached thereto,

      assignm entw assubsequently recorded June 11th 2009;but,

     24.          stepping backtoM ay 15th 2009 (amonth priortorecording said

     Assignment)AURORA commenced anAction asPlaintiff,in CaseNO.09-CA-
     017057,therein plead aw--action to enforcealost,destroyed orstolenpromissov note
     andm ortgageunderFlm Statg673.3091.''




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      25.          AURORA,M ay 15th 2009,adm itsitisin w antofthesine qua non to

      foreclose;Perjurycomestomind,IntrinsicFraudin CaseNO.07-80998-C1V-
      RY SKA M P /V ITU N A C ,supra;also,

      26.          Fraud-upon-the-court01in case N O 09-CA-017057,in TheFifteenth
                                                         .




      JudicialCircuitasAURORA recorded thetransferofPetitioner'salleged debt

      (Assignmentoriginally created forCaseNO.07-80998-CIV-RYSKAM P/VITUNAC),
      threeweeksaherpleading to reestablish said M ortgage-N oW ;furtherm ore,

      27.          Perjury mayalso befound in CaseNO.09-CA-017057,exceptComplaint
      isnotverified,tHear-sayë*1),asAURORA isrepresentedby an Attom ey(thirdparty),
     an Officer-of-the-courq OfficersareGentlemen whoneverlie(notableexception being
     theLAW OFFICE OF DAVID J.STERN P.A.);
     28.           Florida hassince corrected thisweak link in thechain by Am ending

     FIa.R.CiV.P.1.110(b),requiringVerification ofresidentialforeclosurestiledaAer
     Febrtlary 11,2010;altem atively,

     29.          DefendantAURORA by and through Attorney ofrecord, LA W O FFICE

     OF DAVID J.STERN P.A .,provided theCourtin CaseN O . 09-CA-017057,fabricated

     veriGedevidence(sic) ofasecondcolorableAssignmentfrom LEHM AN BROTHERS
     BAN K FSB asA ssignor,the original-lwenderofrecord;w hereby,




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      30.          A ssignor re-assigned Petitioner'sM ortgage and N O TE directly to

      AURORA,designating AURORA asthesoleAssigneesinceorigination (Stellionate);
      ifheld astrue,

      31.          thisCourtm ustignore the frstAssignm ent,and the factboth assignm ents

      wererecorded contem poraneously am idstaBankruptcy proceeding in m otion against

      theA ssignor,a fraudulenttransfer,fraudulentconveyance,avoid act,which itis;

      32.          furtherm ore,w em ustalso ignore alltheveritsedpublic docum entsheld by

      the Securitiesand ExchangeComm ission,docum entswhich paintsa very different

      picturethan the one AUROM      hasportrayed to the Courts,facilitated by the LAW

      OFFICE OF DAW D J.STERN P.A .etaI;as,

      33.          AUROR A fabricated said A ssignm entexpressly forthe purpose of

      litigation,did do so twice;

     34.           A ssignm entwasexecuted to show Standing,wherethere isnone,tw ice;

     35.           Both colorable Assignmentsisstdctly illusionary,asLEHM AN

     BRO THERS BANK FSB did notphysically convey nordelivertheM ortgage-N o'rE to

     A U RO R A ;as,

     36.           LEHM AN BROTHERS BAN K FSB already conveyed theN OTE with al1

     right,title and interestto LEHM AN BROTHERS HOLDINGS INC,beforethe ink dried;

     37.           AURORA attached to itsCom plaintasan Exhibit,in CaseN O .09-CA-

     017057,a copy ofa copy ofaProm issory-N o-fE;


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      38.           Prom issory-No 'rE displaysLEHM AN BROTIIERS BAN K FSB'S

      negotiation ofsaid N O TE by Special-lndorsem entsetover to LE          BR O TH ER S

      H O LD ING S IN C ,w ith a1lright,title and interest;

      39.          LEHM AN BROTHERS HOLDING S INC indorsed said Prom issory-

      N OTE,acknow ledged receiptthereof;furtherm ore,LEHM AN BROTIIERS

      HOLDINGS lN C indicated ithasno furtherliability to any subsequentholderfor

      Paym ent,GGwithoutrecourse''.

      40.          A URORA 'Sfabricated evidence,nam ely a colorable Assignm entfrom

     LEHM AN BROTHERS BANK FSB showing AURORA asO wnerofPetitioner's

     alleged debtisalso in conflictw ith a veritied publicly recorded docum enttitled

     ECTR U ST A G R EEM EN T,''in custody w ith the Securities and Exchange Com m ission,

     dated July 1st2006;

     41.            TRUST AGREEM EN T therein isarticulated Chain-of-Titleolto

     Petitioner'sM ortgage-N o-rE,and those ofotherssim ilarly situated;finding, in part,

     42.           AUROR A isthe Servicerofthisalleged debt;see tiExhibitG''hereto

     attached and incom orated herein by reference.

     43.           AURORA,ata11timesrelevantherein isa subsidiary ofbankrupt

     LEI'IM AN BROTX RS BAN K FSB,the childto bankruptLEIIM AN BROTHERS

     H O LD IN G S IN C ;and,




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      44.          LEH M AN X S TRU ST M OR TG A G E PA SS-TH RO U GH CERTIFIC A TES,

      SER IE S 2006-11 isthe registered H olderofPetitioner's M ortgage-N o rrE,held asa

      collateralized interestofM ortgage-B acked Securities.

      45.          GRAN TOR - GRAN TEE officialpublicrecord found in Palm Beach

      County now identi/esAUROR A asM ortgageeofrecord,Assignm entrecorded June

      111112009;and,

      46.          thereafterA U R O R A recorded a second bogusA ssignm entSeptem ber24th

      2009,both Assignm entsare Uttered docum ents.

      47.          V iolation ofthe FAIR DEBT COLLECTION PR ACTICES ACT,

      CTDCPA'')againstAURORA isherein alleged,foritsfailure,orinabilitytovalidate
     thisalleged debtin question,afterarequestto do so in m iting;

      48.          Grstsuch Validation requestisdated April17th 2008,pre-com plaint,thus

     AURORA violatedTitle 15U.S.C.j 1692gbynon-compliance,ignoredtherequest;
     furtherm ore,

     49.           AURORA filing an Action againstPetitionerwithin ayearofaccepting a

     RequestforV alidation,butpriorto actually Validating thedebt,tollsthe Statute of

     Lim itation on a FD CPA claim ;and,

     50.           AURORA doesnotcom einto Courtwith Clean-llandsC*1in CaseN O 50-    .




     2009-CA-017057-X XXX -M B,seeExhibitççB,''hereto attached and incom orated herein

     by reference'
                 ,



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      51.          V iolation ofFDCPA by AUROR A continuously harassing Petitionerwith

      unwantedphonecalls,personalhom evisits(monthly)and dunninglettersthirty-one
      (31)daysafterreceipt(PSForm 3811)ofwritten requestfrom Petitionerto stop calling
      untilthe alleged debtisvalidated,and AURORA'Sfailure orinability to validatesaid

      debt;furtherm ore,

      52.          A URORA violated theprohibition on false,deceptiveand m isleading

      representations,byclaiming tobetheCreditor;see 15U.S.C.jj 1692g(a)(2),1692e.
      53.          Violation ofTelephoneConsum erProtection A ctcontinuingly harassing

     Petitionerwith unw anted telephone callsafterawritten requestfrom Petitionerto stop

     calling untilthe alleged debtisvalidated,and AURORA'Sfailure orinability to validate

     said debtbutcontinued com m unicationsby utilizing autom ated calls;and,

     54.           ViolationofFAIR CREDIT REPORTING ACT (fTCRA'')by AURORA
     isherein being alleged,forproviding unverified information to the reporting agencies,

     which w asknown to betm-verified,false,m isleading, orshould haveknown sam e,

     resulting in D efam ation ofCharacter;

     55.           Un-v erified inform ation resulted in dam aging Petitioner'screditrating
                                                                                          .




     56.           D efendantD AVID JAM ES STERN Esquire,KAROL S PIERCE Esquire,

     CASSAN DRA R ACINE-RIG AUD Esquire,M ISTY BARNES Esquire,joi
                                                                ned withthe
     LAW OFFICE OF DAVID J.STERN P.A.,actedjointly orseverallyby commencing a




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      known givolousAction to foreclose on Petitioner'sproperty by re-presentedrrfml

     fascia evidence,andhear-saytestimony;furthermore,
      57.          LA W OFFICE OF DA VID J.STERN P.A .,etal.,violated the prohibition

      on false,deceptive and m isleading representations,by claim ing to representthe

      Creditor;see 15U.S.C.jj 1692g(a)(2),1692a(4),1692e;as,
      58.          N otice to A gentis N otice to Principal,and N otice to Principalis N otice to

      A gent.

      59.          LAW OFFICE OF DAVID J.STERN P.A .,etaI.,presented to the Courta

     counterfeited copy ofaN OTE,stam ped itlIV REBY CERTIFY THIS TO BE A TRUE

     Ar EXACT COPY OF TIIE ORIGINAL''which isprimafasciaafraudulentfactum .
     60.           Esquiresknow ,orshould know an averm entbeforethebench related to

    primafascia evidencepresentedasan Exhibit,i.e.çtcopy ofaNOTE''withoutactual
     possession ofthe originalofwhich said alleged copy iscreated from isa false or

     m isleading representation.

     61.           DefendantChiefExecutiveOfficerCçCEO'')and PRESIDENT of
     AURORA,ata1ltim e relevant,TOM W IN D isin receiptofnum erouswritten

     com m unicationsfrom Petitioner;whereby,

     62.           Defendant,occupantoftheO ffice ofCEO and PRESIDEN T ofAU ROM

    responsesto said com m unicationsare allnon-responsive,al1ofwhich com e from a




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      third-partp interloperallegedly on behalfoftheparty occupying theO ffice ofCEO and

      PR ESID EN T ofA U R O R A .

      63.                AUROR A'SCEO and PRESIDEN T ata1ltime relevant,in receiptof

      Petitioner'sallegations,agreed,inparqitsparent(atthattime)LEHM AN BROTHERS
      B AN K FSB received the equity in Petitioner'sproperty w ithoutany substantive

      consideration'
                   ,

      64.               A U RO M 'S CEO and PRESID EN T agreed w ith Petitioner's w ritten

      com m unication,in part,LEHM AN BROTHERS BAN K FSB received Petitioner's
      *6
           ...   M ortgageN O TE withoutinvesting orrisking one-cent,otherthan the norm al

     and customary over-headexpensesofadm lnistration...''
     65.                DefendantLEHM AN BROTHERS BAN K FSB did notlend Petitionerany

     M oney-of-Exchange E*1,notdepositor'sm oney, notthe Bank'sm oney norany ofits

     ow n m oney,nothing ofsubstnnce;see tçExhibitC''AfsdavitofRW ALKER TODD''

     hereto attached and incorporated herein by reference,certiled copy in hand,see also

     thetf reditRiverDecision (1968(
                                   /';
     66.                LEI'
                           IM AN BROTHERS BAN K FSB extended to Petitionera line of

     Credit,and to otherAm ericanssim ilarly situated;

     67.                creditcreated from thevalueplaced on theN OTE tendered,as an

     exchangeofvalueorconsideration,pursuantto G enerally Accepted A ccotmting

     Principals(ç<G           '')-as,


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      68.          presented to Petitioner,during Closing,aTRUTH-IN -LENDIN G

      DISCLOSURE STATEM ENT whichreads(top-leA-hand-cornerin boldbox),uThe
      costofyourcreditasayearly rate''SeeççExhibitD''heretoattached andincom orated
      herein by reference,and,

      69.          N extbold textbox to therightreads,HThe dollaram ountthe cred/fwill

      costyom ''A nd

      70.          thirdbox overfrom theleftreads,ulheam ountofcreditprovidedtoyou
      oronyourAeA/t/l''
      71.          LEHM AN BROTHERS BAN K FSB deposited Petitioner'sNOTE into a
      Transaction-A ccount:*1y a/k/a Deposit-Accotmtl*1, in Petitioner'snam e forPetitioner's

     benefit;

     72.           LEHM AN BROTHERS BAN K FSB indorsed theNO TE;Gpay to the

     Orderof 'Hwithoutrecourse,''isM aker'slndorsee'sordertopay aDraftU1 orBank-
     Check;

     73.           Dral '*1, or B ank-check isnegotiable using Petitioner'sProm issorp

     N O TE,orthe N O TES ofotherA m ericans sim ilarly situated,sam e as m oney, to balance

     thebank'sbooksunderGA AP;

     74.           D rafq orB ank-check is M aker's financialassetunder U .C.
                                                                            C.j8-102(9);
     75.           financialassetistheconsideration(NOTE)setoverforasum certain,




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      76.          D raA,orBank-check,N O TE as a tinancialasset,is executed w ithout

      M aker'sauthorization orknowledge attim e ofClosing;whereby,

      77.           Seller'sasking pricewasdischarged using thisaforem entioned M oney-of-

      A ccountE*1created by LEH M A N BRO TH ER S B A N K FSB 9om thin air, in exchange

      for M aker's depositofthe N O TE into said Transaction-A ccount,and operates in alike

      m atrix forotherA m ericanssim ilarly situated;

      78.          LEHM AN BROTHERS BANK FSB m ade a General-D epositE'1of

      M aker'stendered Prom issorp NoTE;

      79.          G eneral-D epositis m ade using M aker's Lim ited Pow er-of-A ttom ey C*1;

      80.          Lim ited Pow er-of-A ttorney is acquired by D efendantLEHM AN

      BROTHERS BAN K FSB orA SSOCIATES LAN D TITLE IN C,underapretextatthe

      Closing-Table I*1;

      81.             General-Depositusing M aker'sLim ited Power-of-Attorney isa m aterial

      factintentionally with-held from M aker.

      82.          General-Depositw asdone contrary to Petitioner'sintentorunderstanding,

     thatdepositofPetitioner'sN OTE w asunderstood to be a Special-Depositol;

      furtherm ore,

      83.          Post-closing DefendantLEHM AN BROTHERS BANK FSB or

      ASSOCIA TES LAN D TITLE INC did notpresentM akerwith a receiptforsaid

     Prom issory-N o TE;



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      84.           Receiptisrequired to begiven by a Bank upon itsacceptance ofa General-

      DepositunderFinancialAccotmting StandardsBoard,CTASB'')95;ergo,
      85.           LEHM AN BROTX RS BANK FSB orASSO CIA TES LAN D TITLE

      1N C concealed the ownership ofsaid Deposit;

      86.           concealm entofownership ofsaid Depositin Petitioner'sparticular

      instanceisLarceny ofoverThree-Hundred ($300.00).
      87.          Violation ofTitle 12U.S.C.1813(L)(1),or12U.S.C.1813(L)(3)asthe
      GeneralD eposithad a specificpum ose,whetherM akerrealized itatthe tim eornot,

     othersdid,resulting in a CollateralFraud;

     88.           D iscovery ofFA SB çtstatementofFinancialAccotmting StandardsN o 5,''   .




     FASB 95(credittotransactionalaccount),115(accounting forconversion ofloan to
     security),133(derivativeson hedgeaccounts),140 (Accotmting forTransfersand
     ServicingofFinancialAssetsandExtinguishmentsofLiabilities),doesevidencethe
     sourceofthe tm oney,'being the m onetized N OTE, which Petitionerand other

     Am ericanssim ilarly situated setoverin trustw ith LE         BROTHERS BAN K FSB;

     89.           Petitioner,and otherAm ericanssim ilarly situated w ere tricked atthe

     Closing-Table into believing a quasitruth,in part, M oney-of-Exchange isbeing

     negotiated for,to facilitatetheacquisition ofa hom e,which isnegotiated, butthis/these

     hom e/hom esisnotseized using M oney-of-Exchange, instead hom e/hom esare

    transferred using Petitioner'scredit,and thecreditofotherAm ericanssim ilarly situated     .




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      90.          LEHM AN BROTHERS BAN K FSB converted said creditinto M oney-of-

      Account(orCredit-M oney/Check-Book-M oney);and keptquietwas,
      91.          DefendantLEIIM AN BROTHERS BANK FSB joinedwithLEIIM AN
      BROTHERS HOLDINGS INC joinedwith STRUCTURED ASSET SECURITIES
      CORPORATION hatched aprem editated schem eto usePetitioner'sProm issory-N o'rE

      and theProm issorp N o'rE ofotherAm ericanssim ilarly situated,under 12 U S.C .1813
                                                                                   .




      (L)(1),sameasmoney;
     92.           invested thatm oney with a third party lnvestm ent-com pany,LEIIM AN

     X S TRU ST M ORTGA GE PA SS-THROUGH CERTIFICATES,SERIES 2006-11fora

     quick protk;

     93.           Petitionerand otherA m ericans sim ilarly sim ated apparently changed the

     econom ic substanceofsaid transaction from theone contem plated in reading the Credit

     Application Form ;whereby,

     94.           A greem ent,N O TE,M ortgage orsim ilar instrum entsPetitioner signed, or

     otherAm ericans sim ilarly situated signed,changed thecostsand risk to D efendant

     LEH M A N BR O TX R S BA N K FSB efaI.

     95.           Petitioner com es to discover,post-closing,Petitioner and other A m ericans

     sim ilarly situated were steered into an Investm ent-contract01 asundisclosed Investors

     underthe TRUST AGREEM EN T, by Extem ality !*1;




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      96.          Petitionertoday understandswhy areceiptfortheProm issory-N o'rE was

      notpresented atClosing,concealed Donor'srole in said lnvestm ent-contract;whereby,

      97.          M onetizingM aker'sNOTE tç>ay to theorderof...withoutrecourse''j
      converted saidNOTE into acash item ,namelyaDraA,orBank-check;see,UCC jjl-
      201(24),3-104,8-102(9),and jj9-102(9),(11),(12)(B),(49),(64);thereaAer,
      98.          Securitizing M aker'sN O TE has a sim ilareffect asm onetization,only now

      the source ofm oney com esfrom an investor,orinvestors;

      99.          PetitionerasM ortgagoratal1time relevantherein neitherknew norwas

      infonned Petitioner'sProm issorp N o'
                                          l'E wasto be securitized;assuch,

      100.         PetitionerseeksrecoupmentunderU.C.C.j3-305andmakesClaim under
     U.C.C.j3-306orj9-102(64);because,
      101.         AURORA isalleged to havetnken possession ofPetitioner'sM ortgage-

     NOTE,buton theotherhand claim sthe NOTE islost,stolen,ordestroyed,while in its

     care,custody and control;how ever,

      102.         AUROR A isnotnow ,norw asevertheHolder-in-m e-course.

     103.          A U R O R A pleads w ith thatC ourtin Case N O .50-2009-C A -017057-

     XXX X -M B to havetheM ortgage-N o'rE re-established;how ever,

     104.          AUROR A isnotnow,norwasevertheReal-party-in-lnterest.

     105.          Petitionerand otherAm ericanssim ilarly situated hold a Possessorp

     lnterest'*1intheirrespective Prom issory-N o TE , U.C.C.j3-306;assuch,


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      106.         Petitionerm akesClaim to theNOTE,and Claim ism ade againstthe cash

      proceeds;including butnotlim ited to,

      107.         proceedsfoundontheliability sideof(Lender'sledger)LEHM AN
      BROTHERS BANK FSB'Sledger,orfrom the(Real-Lender)Entity withthatliability
      ow ed to Petitioner,and the other A m ericans sim ilarly situated,to be found on Lender's

      BooksandRecords;seeFAS 140,U.C.C.93-305,j3-601,j8-105,j9-404;and,
      108.         Petitionerdem andsalltheproceedsfrom Trust-certiticates/Securities/

     BOND S etc.,stem m ing from Petitioner'sNO TE;and,

      109.         Petitionerdem andsallthe rentpaym entscollected by AURORA,Eighty-

     One-Thousr d-œ e-Hundred-Thio ,76/100($81,130.76),tobereturnedtotheDonor,
     theultim ate Benefciary,orto the Heirofthe Estate;as,

     110.          them oney m ade from theexploitation and abuse ofPetitioner'sm oney,

     belongs to Petitioner.

     111.          LEHM AN BROTHERS BAN K FSB'S ledgershow ing Petitioner'sasset,

     orthe Entity w ith the setoverofPetitioner'sassetonto itsledger,ishiding the liability

     side oftheirbooks and records from Petitioner;

     112.          LEIIM AN BROTHERS BAN K FSB separated the Payablesfrom the

     Receivablesand refused,oristmableto Verify UlPetitioner'salleged debtwhen

     requested to do so in m iting,m onthsbefore IisPendensw assled;




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      113.         FLORIDA CON SUW R COLLECTION PM CTICES ACT,Sec.559.55

      etseq.,m andates,in part,thatLE          BROTHERS BAN K FSB,astheoriginal

      Creditordoing business in the State ofFlorida validate said debtupon w ritten request;

      114.          LEH M AN BR O THE R S B AN K FSB refused to validate Petitioner's

      alleged debt,by non-response,ignored the request;because,

      115.         LEIIM AN BR O TH ER S H O LD IN G S IN C w as the Creditor,a strangerto

      theOriginaltransaction,subsequently A URORA becam e aThird-party-D ebt-collector;

      116.         LEIIM AN BR O TH ER S BA N K FSB orLEHM AN BR O TH ER S

      H OLDING S INC separating theirPayablesfrom theReceivablesm ay m ake itappearas

      DefendantAURORA,orratheritslow er-level-em ployee acting in the capacity ofa

      Third-partp D ebt-collectorm aking those annoying telephonecallsm ay be acting in

      good faith,notcognizant(ç%needto know'')ofallthetruefacts(payables/liabilities),is
      in part,the conuptpartofAURORA 'Sbusinessplan.

      117.         Petitioner'sProm issorp N o'rE and theN OTESofotherAmericans

      sim ilarly situated isa liability ofLEHM AN BROTHERS BAN K FSB orLEHM AN

     BROTHERS HOLDING S INC,aliability ow ed to Petitionerand theotherAm ericans

      sim ilarly situated;

      118.         Petitionerfirm ly believesthisliability ofLE       BROTHERS BANK

     FSB orLEHM AN BRO THER S HOLDING S INC isan Off-Balance-sheet-Entry E*1;

     however,



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      119.         O ff-Balance-sheet-Entriesarerequired to bereported to the Federal

      ReserveBoard,CFRB''),under12U.S.C.248and 347;and,
      120.         Balance-sheetidentified asFR 2046 caniesan Oftk eofM anagem entand

      Budgetnum ber 7100-0289;

      121.          Balance-sheetdisplaying an Oftice ofM anagem entand Budgetnum ber

     m akesitsubjectto disclosuretmdertheprivacy act;seeTitle5USC 552 etseq;
      122.         Balance-sheetFR 2046 doesdisclose Petitioner'strueoutstanding

     M ortgage-No'l-E balance,which iszero($0.00).
      123.         LE         BROTHERS BAN K FSB'SdepositofPetitioner'sProm issory-

     N O TE into a Transaction A ccountas a G eneral-D epositis butone reason there is no

     longer a R eal-partp in-lnterest;as,in part,

     124.          LEIIM AN BROTHERS BANK FSB negotiated(UCC j3-201)
     Petitioner'sProm issory-N oTE and offsetitsrelated double-entrp bookkeeping balance

     on itsbooksand records9om theconsideration paid to itby LEHM AN BROTHERS

     HOLDING INC,recognized asatruesale,Accord and Satisfaction (U.C.C.j3-311);
     125.          negotiation isexecuted w ithoutany evidence ofa recordableassignm ent

     fortheM ortgage;notfatalas,

     126.          theM ortgagefollow stheN OTE.

     127.          Veriled admissibleevidence(TRUST AGREEM FN T)filed withthe
     SECURITIES Ar        EXCI-IAN GE CO M M ISSION ,m ade a parthereofand



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      incom orated herein by reference,sndsLEIIM AN BROTHERS HOLD INGS IN C,as

      H olderand O wnerofPetitioner'sN OTE did presale it,asatrue sale,Accord and

      Satisfaction;thereafter,

      128.         LEIIM AN BROTHERS HOLDINGS INC constructively setoverallits

      right,title and interestofsaid Prom issorpN oW to STRUCTURED ASSET

      SECUM TIES CORPORATION (no evidenceofConsignment,Deliverynor
      Acceptance);and,
      129.         STRUCTURED ASSET SECURITIES CORPOM TION offsetitsrelated

     double-entrpbookkeepingbalancefrom theconsideration itdidreceive;in# a,
      130.         STRUCTURED A SSET SECURITIES CORPOR ATION constructively

     transferred Petitioner'sN O TE to the Trustee,in trustfor LEHM AN X S TRU ST

     M ORTGAGE PA SS-TIIROUGH CERTIFICATES,SERIES 2006-11,recognized asa

     truesale,(Accord and Satisfaction);however,
     131.          alleged transferofPetitioner'sNOTE from STRU CTURED A SSET

     SECURITIES CORPOR ATION isillusionary in nature,asitisdone constructively

     w ithoutany evidenceofConsignm ent,Delivery orAcceptance ofthe Closing

     documentsby Trustee,a violation ofN ew Y ork TrustLaw .

     132.          LEH M AN X S TRU ST M O RTG A G E PA SS-THR OU G H CER TIFICA TE S,

     SER IES 2006-11,pm suantto the TRU ST A G REEM EN T ,is the true H older and O w ner

     ofPetitioner'sdebtby construction,and thedebtofotherssim ilady situated;then,



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      133.         STRU CTU RED A SSET SECU RITIE S C O RPO R A TION hypothecated

      Petitioner'sNOTE,andtheNOTESofotherssimilarly situatedto athirdparty,ink a.
      134.         Hypothecating Petitioner'sM ortgage-NorfE toathirdparty,four(4)times
      rem oved from the O riginator,to a party w hich intends to fractionalize Petitioner's debt,

      and the debtofotherA m ericans sim ilarly situated,did then sellfractions ofPetitioner's

      debtand thedebtofotherssim ilarly situated in theform ofTrust-certificatesto

      m ultiple investors;therefore,

      135.         there isno longera Real-partp in-lnterest,ratherm ultiple interested parties

      each holding an indivisiblefraction ofthedebt;seeU.C.C.j3-203.TRANSFER OF

      INSTRUW NT;RIGHTSACQUIRED BY TRANSFER;thetransfereeobtainsno
     rightsunderthisArticle and hasonly the rightsofa partialassignee;furtherm ore,

      136.         Transferofinstrum ent;rightsacquired by transfer.- Fla.Stat.673.2031 -

     (4)alfatransferorpum ortstotransferIessthan theeasreinstrument,aeg//fl/f/a of
     theinstrum entdoesnotoccur.Thetransfereeobtainsnorightsunderthischapter
     andhasonly therlkhtsofapartialassignee.''
      137.         Furtherm ore,there isno evidenceto show LEHM AN BROTHERS BAN K

     FSB isaM ERS* M em ber, atall-tim e relevantherein,separated theN OTE from the

     M ortgage;and,

     138.          thereisno evidenceto show LEHM AN BROTHERS HO LDING lnc isa

     M ERS* M em ber,atall-tim erelevantherein, separated theNOTE from theM ortgage;and,



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      139.         thereisno evidenceto show STRUCTURED A SSET SECU RITIES

      cor olu -rlox isaM ERs* M em ber, atall-tim erelevantherein,separated theN OTE

      from the M ortgage;and,

      140.         there isno evidenceto show LEHM AN X S TRU ST M ORTGAGE PA SS-

     THR OU GH CERTIFICATES,SERIES 2006-11w asaM ERS* M em ber, atanytim e

     relevantherein,separated theNOTE from theM ortgage,bifurcation,see Restatem ent

     (Third)ofProperty(M ortgages)95.4(a)(1997);also,
      141.         FederalBankruptcy'sJudicialTrustee isnotaM ER S* M ember;crgo,

     142.          N OTE isseparated from theM ortgage aseach ofthese Gnancialinstrum ents

     tM ortgage-NoW lisandwasdulyregisteredtomultipletmrelatedpartieswithoutan
     agency agreem entbetw een them ,destroyed the secured-interest.

     143.          D efendantLEH M AN BR O TH ER S BA N K FSB know ingly participated in a

     prem editated schem edevised with otherherein nam ed D efendantsto securitize Petitioner's

     Prom issory-NoTE,and theNOTESofotherAm ericanssim ilarly sim ated, asifthese

     N O TES w ere N egotiable-lnstrum ents l2l(*1;




     l21    The follow ing passage from one ofthe nrstm odern law students'hornbooH on the Iaw of
     billsand notesisillustrative:Negotiability isthe property by which eertain chosesin aetiom thatis,
     undertakingsto pay,passfrom hand to hand Iikem oney.The com m on Iaw knew nothing ofthat;or
     ratherthecom m on Iaw repudiated entirely the notion thata prom ise by A to B could betreated asa
     promiseextended also to C.

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       144.         Securitizing Petitioner'sProm issorp N o-fE,and theNOTESofothers

      sim ilarly situated isdone w ithoutM ortgagor's know ledge orconsent;

       145.         Securitizing Petitioner'sProm issory-N oTE,and theN o'l'
                                                                           Esofother

      A mericanssim ilarly situated w ithoutM ortgagors'knowledge orconsentm akesthe entire

      transaction illegal,which includesa11subsequenttransactions, unless negotiation is Barter.

      146*         The Prom issorp N o 'rE in question is a N on-N egotiable '*1Instrum ent;as,

      147.         Petitioner'sProm issorp N oW containsa pre-paym entpenalty;also,

      148.         Petitioner'sProm issorp N o 'rE contains late-paym entpenalty;also,

      149.         Petitioner'sProm issorp N oW containsprovision forthe property'ssaleor

     transfer;also,

      150.         Petitioner's Prom issory-N o rrE containsprovision forthe Lenderto exercise

     N otice ofAcceleration;also,

     151.          Petitioner'sProm issorp N oW containsprovision of30 daysforarem edy;

     152.          assuch,by clearstatutory definition once oneprom ise orundertaking is

     found,thecharacterofthe NOTE crmnotsaid to be negotiable;however,

     153.          Petitioner'snon-negotiableN OTE, and theNOTESofotherAm ericans

     sim ilarly situated issecurhized.

     154.          Securitization ofPetitioner'sN OTE,and theN OTESofotherssim ilarly

     situated em ploy the U niform Electronic TransactionsA ct, (1999),(ç
                                                                        tUETA'');




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      155.         undertheUniform ElectronicTransactionsA ctPetitioner'sProm issory-

     N OTE isdigitized into a Synthetic-N o'rE C*1,thereaaerelectronically transferred,

      conjoined orbundledwith otherssimilarly situatedSynthetic-NoTEscreate aM ortgage-
     B acked Security,in an Electronic B ook-Entry C*1Registration system ;

      156.         Electronic Book-Entry R egistration system is analogousto an Excel*

     Electronic-spread-sheet:*1,show ing w ho ow ns w hatand w hen;thereafter,

      157.         theoriginalPromissorpNoW isdeliberately destroyed,to avoid (confusion)
     implication ofD ouble-D ipping,orStellionate.See GFL M ortgage Banker Assn Adm its

     NotesDestroyed,''tçExhibitE''hereto attached and incop orated herein by reference,

     certified copy in hand;as,

     158.          Attom ey,Virginia Townes,BAR Num ber361879,Septem ber2%h 2009,

     appeared,gavetestim ony beforethe SUPREM E COURT OF FLORID A,speaking forthe

     FloridaBankersAssociation,composedofmorethan threehundred(300)banks,is
     obviously underthe erroneous assum ption thatthe genuine Prom issorp N o W and

     M ortgagem ay be electronically scanned thereaftertheProm issory-N oW and M ortgage

     maybe,G...deliberately eliminatedtoavoid confusion ...''
     159.          UETA /#...appliesonly to transactionsbetweenpartieseach ofwhich has
     agreed to conducttransactions by electronic m eans.''

     160.          Uniform Electronic TransactionsActisnotapplicableto Petitioner's

    M ortgage-NoW astheActisin contlictwith 590.953Fla.Stat;


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      161.         U niform Electronic TransactionsActisnotapplicableto Petitioner's

      M ortgage-No'rE astheActisin conflictwith 5673.1041Fla.Stat;
      162.         U niform Electronic TransactionsActisnotapplicableto Petitioner's

     M ortgage-No'rE astheActisincontlictwith j678.1021Fla.Stat;and,
      163.         Uniform ElectronicTransactionsA ctspecitically exemptsResidential

     M ortgage-B acked Securhies from its application;as,

      164.         anegotiable ins% m entora non-negotiable instrum entm ustbe signed by the

     hand oftheM aker;

     165.          Uniform Electronic TransactionsActisnotapplicableto the creation and

     executionofatestamentarytrust,i.e.Petitioner'sM ortgage,seeCestuiQueVieAct1666;
     forU ETA see Florida Title 39 Chapter 668 etyct?;

     166.          Uniform Electronic TransactionsActisnotapplicableto acontractorother

     record to theextentitisgovem ed by theUniform Com m ercialCode otherthan sections 1-

     107 and 1-206 and M icles2 and 2A ;

     167.          Financiallnstrum entsgoverned by one oftherem aining Articlesofthe

     UCC - Article3(Negotiablelnstruments),Article4 tBankDepositsandCollections),
     Article4A (FundsTransfers),Article5(LettersofCredit),Article6(Bu1k Sales),Article7
     (DocumentsofTitle),Article8(lnvestmentSecurities),andArticle9 (Secured
     Transactions) -- may notrely onUETA forvalidity.




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      168.         TheGGdeliberateelim ination''oftheoriginalNOTE GGto avoid confusion,''
      precludestheprotectionordinarily provided by j673.3091(1)(b)Fla.Stat.,becauselossof
      possession occurred during the transferoftheN OTE,from itspresentform into a

      M ortgage-Backed Security,astheUETA isan essentialelem entofthism etamorphosis;

      169.         altem atively,equity considered,deliberateand intentionalalteration ofathing

      (squeezing thejuicefrom anorange,orconjoiningNOTESinto asecurities,conjoining
      securitiescreatingBONDS)precludesthealterorofthatthing,itsSuccessororAssignee
     thereoffrom undoingthedeed(returningthejuiceback to itsoriginalstateasan orange,or
     separatingan individualsecurityfrom aBOND,convertingitbackinto aNOTEI;as,
     170.          Securitization isirreversible.

     171.          Petitioner'sN OTE w astransform ed into adigitized Synthetic-N oTE, btmdled

     orconjoinedwith otherSynthetic-NoTEsbecameaM ortgage-BackedSecurity;
     172.          once theN OTE istransform ed,orm op hed into a M ortgage-Backed Security,

     theN OTE no longerexists,thusrendering theM ortgage a nullity;fortwo reasons,

     173.          NOTE is a...deliberately eliminatedto avoid confusionn''vis-à-visisreally
     destroyed to avoid the im plication orinclination to Stellionate;altem atively,

     174.          NOTE isdestroyed by operation oflaw ;because,

     175.          LE        BROTHERS BAN K FSB etaI.m otivation isto usePetitioner's

     Prom issorp N o-fE,and those ofotherssim ilarly situated forgeneralbusinessuse, to m ake

     aproftincluding interest;and,


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      176.         LEHM AN BROTHERS BANK FSB etal.plan ofdistribution oftheN OTE

     resem blesdistribution ofa security;and,

      177.         the investing public reasonably expectsthatthe N O TE is a security;and,

      178.         there isa regulatory schem e protecting the investorotherthan the securities

     laws,includesNOTE subjecttoFederalDepositlnsurance,andEmployeeRetirement
     lncomeSecurityAct;seeRevesv.Ernst& Younw 110 S.Ct.945 (1990);therefore,
     179.          N O TE no longerexists,as itis a tçsecurity''w ithin the m eaning ofthe U .C .C .

     j8-102(a)(15);also,
     180.          asecuritywithinthemeaning oftheSecuritiesActj2(1),3(a)(3);also,
     181.          asecuritywithin themeaningoftheExchangeAd 53(a)(10);
     182.          N OTE no longerexists,asitisconsidered to bea security;

     183.          LEHM AN BROTHERS HOLDING S INC knowing ofthe non-negotiability

     oftheNOTE held the instm m ent,asrequired,butnever-the-lessconstructively sold it.

     184.          Petitioneron oraboutFebruary 28th 2010,advised AURORA LOAN

     SERV ICES LLC M ERSCORP,M ERS* DAVID J. STERN P.A .,D A V ID JA M ES

     STERN Esquire,M ISTY M LEN BARN ES Esquire,K AROL S.PIERCE Esquire,and

     CA SSAN DRA M .R ACIN E-RIGAUD Esquire,ofFraud,fraud in the facm m ,constm ctive

     fraud,w illfulfraud,telecom m unications gaud,m ailfraud,bank fraud,enticem entto fraud,

     fraud by conversion,fraud by inducem ent,actualfraud,defam ation ofchmucterand

    identitythefk by,


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       185.         Notarialpresentment(third-partpwim ess)deliveredto each aforementioned
      party in w riting;

      186.         N otarialpresentm entw as delivered by U .S.R egistered M ail, and accepted;

      187.         N otarialpresentm entwasdelivered by U .S.Registered M ailwhereby each

      envelopecaniedTwenty-one($21.00)Dollarsin stnmpsthereon;whereas,
      188.         AURORA LOAN SERVICES LLC,G RSCORP,M ERSO, LAW OFFICE

      OF DAVID J.STERN P.A .,DAVID JAM ES STERN Esquire, M ISTY ALLEN BARNES

      Esquire,KAROL S.PIERCE Esquire,and CA SSANDM M .RACINE-RIGAUD Esquire,

      al1agreed with each allegation ofwrong doing,by tacitacquiescence    .




      189.         U sury,lex Anastasiana536901,wherebyDefendantAURORA etal., by

      avariceisattemptingto chargePetitionerapproximately fifty-thousand percent(50,000% )
     interestperyear;ergo claim forD isgorgem ent, RecoupmentandisCriminalUsury;see j

     687.07147),Fla.Stat.(2010),
     190.          Crim inalUsury nullifiesan agreem ent.

     191.          U .S.BANCORP 1nc isa nam ed party herein asitissuccessorin interestto

     LA SA LLE BANK NATION AL ASSOCIATION asTRU STEE in trustfora Foreign-

     Unincom orated-A ssociation '*1, a/k/a/A Contracm alOrganizationCs, a/k/a/REV C , a/k/a/

     lnvestm entCompany,a/k/aN ew Y ork Com m on-Law Trust, titled LEHM AN X S TRU ST

     M ORTGAGE PA SS-THR OU GH CERTIFICA TES,SERIES 2006-11                .




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      192.         Petitioneralleges,in part,AUROR A'SemployeeTHEODOR SCHULTZ,and

     JOAN N REIN isresponsible forfabricating colorable Assignments,ExtrinsicFraud;then,

      193.         A U R O R A recorded said fabricated colorable A ssignm ents as Exhibitsw ith

     the Clerk ofthe respective Courtfacilitating tw o separate actsofU ttering,done

     know ingly,or should have know n sam e.

     194.          LA U R A M CC AN N ,CY N TH IA W A LLA CE a/k/a CIN D Y W A LLA CE

     allegedtohavejointlyorseverally provided Perjured-Testimony,knowingly acted asa
     false-w itness,presented testim ony know n to be false atthe tim e the w ords w ere recorded

     and subsequently verified.

     195.          LAW OFFICE OF DAVID J.STERN P.A .,DAW D JAW S STERN Esquire,

     KAROL S PIERCE Esquire,CA SSANDR A RACIN E-RIGAUD Esquire,and M ISTY

     B         S Esquire,alleged co-conspirators,facilitatorsoffraud upon the Courtand this

     Petitionerin particular,oraltem atively,acted in aprofessionally negligentm anner.

     196.          DefendantDARLINE DIETZ perm itted itsNotarialidentity to beused by

     thirdparties,facilitatedeitherby computercommand(digitized signature,orstamp),orby
     electro-mechanicalmeans(scribed signaturedonebyahand-writingmachineholding a
     pen a/k/a autopen signature,sincethere islittle ifany variation in thesignaturesfound on

     both oftheAssignmentsin question).




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      197.         DEFENDANT jointlyorseverally devised,supportoremploy acoporate
      structtlre,an artifke titled M ORTGAGE ELECTROM C REGISTM TION SY STEM S

      IN C ;

      198.         thepurpose ofM ERS* appearsto be separation oftheN OTE from the

      M ortgage in orderto speed-up kansfers ofM ortgage debt;

      199.         M ERS* constm ctively avoidsthetraditionalrecording ofM ortgagetransfer

      within eachjurisdictionalCounty,theresultofwhich isobfuscation astotheidentityofthe
     trueownerofPetitioner'salleged debtand ofotherAm ericanssim ilarly situated;

     200.          M ERS*com oratestrucmrecreatesaconduitwhereby four(4)Partiesarenow

     making claim ofownershipto Petitioner'sallegeddebt,infra.
     201.          Based on the foregoing,any partherein found to betrue orcorrect;itisnot

     hard to find the cause forM entalM guish orEm otionalDistress.




                                   gntentionally Ieftblankl

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                                               II.
                                 JUR ISD IC TIO N A N D V EN U E



     202.          ThisCourthmsoriginalsubjectmatterjurisdictionofthisaction pursuantto an
     A ctof Congress,93 Stat.284,Public Law 96-170, D ecem ber29th 1979, an A ctto perm it

     civilsuits under section 1979 ofthe Revised Statutes42 U .S.C .1983,againstany person

     acting undercolorofany law orcustom oftheDistrictofColumbiawho subjectsany
     person withinthejurisdiction oftheDistrictofColumbiatothedeprivation ofany right,
     privilege,orim munity secured by the Constitution and law s;statutorily thiscontroversy

     encompassesaviolation oftheFDCPA,Title 15etseq;18U.S.C.jj 1962 and 1964;28
     U.S.C.jj 1331,1332,and2201,astoafederalquestionbetween acitizen oftheStateof
     Florida,including others sim ilarly situated,and a citizen ofa foreign state;Petitioner and

     others sim ilarly situated also seek relieftm derthe D eclaratory Judgm entA ct,and the

     amountundercontroversy exceedsFive-M illion ($5,000,000.00).


     203.          VenueisproperinthisJudicialDistrictasDEFENDAN T (Com orateentity,
     oralike)conductsir ificantbusinesswithinthisDistrictandthatasubstantialpartofthe

     eventsoromissionsgivingrisetothisclaim occurred in thisjudicialdistrict,therefore
     DEFENDANT issubjecttoinpersonam jurisdiction inthisjudicialdistrict;28U.S.C.
     jj 1391(b)(2),1391(c).



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                                               111.
                                            PA R TIES

     204.          Petitioner,JOHN K O         ,Private Attorney General,holdsequitabletitle

      and possession ofim m ovable real-estate located within Palm Beach County,Petitionerisa

      citizen oftheStateofFlorida,overtheageofm ajority,with capacitytoactasaPrivate
     A ttorney G eneral,forhim selfand others sim ilarly situated.



     205.          A IJRO R A LO AN SERVICES LLC ;


                   (Defendant),AURORA LOAN SERW CES,LLC originatesand
                   servicesprim e and subprim e residentialm ortgage loansthrough
                   w holesale and correspondentchnnnels.The com pany also buys
                   m ortgagesoriginated by otherm ortgage bankers,banks,and credit
                   unions.AUROR A LOAN SERV ICES,LLC w asform erly known as
                   AuroraLoan Services,lnc.The company w asfounded in 1997,
                   headquartered 10350 Park M eadow s D rive,in Littleton,Colorado
                   80124.AURORA LOAN SERVICES,LLC operated asa subsidiary
                   ofLEHM AN BROTHERS BANK ,FSB.
                   Phone:720-945-3000 - 877-300-8695

                    (hereinaAer,squarebracketlslmean;emphasisadded,inh-aj


     206.          TOM W IN D ;

                   CHIEF EX ECU TIW OFFICER and PRESIDEN T ofAIJRORA

     LOA N SER W CES LLC ,Tom W ind,atalltim e relevant,possesses Superior

     K now ledge,and from w hom a1lC orporate action /policy isderived,and Tom

     W ind isresponsible forthe actionsofA U RO R A LO A N SERV ICE S,LLC .


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     207.          LE        BR O THE RS B AN K ,FSB ;
                   LEHM AN BROTHERS BANK,FSB (Defendant)isanequalhousing
                   lenderw as headquartered in W ilm ington,D elaw are.Lehm an Brothers
                   Bank isaw holly-owned subsidiary ofLehm an Brothers,a global
                   tsnance leaderthatservesthe financialneedsofgovernm ents and
                   municipalities,corporations,institutions,and high networth
                   individuals globally.Lehm an BrothersB ank is a m arket-leading
                   investm entbank offering m ortgage and consum erloansw ith products
                   and pricing consistentw ith the Lehm an Brothersnam e.
                   Phone:302-654-6179
                   web-site addresshe ://-    .lehm r brol ersbank.com which re-
                   directsthe operatorto thisweb-site;https://w ww.aurorabankfsb.coln/



     LEHM AN BROTX RSBANK,FSB,(concurrentwith theFirm LEHM AN
     BROTHERS HOLDINGS INCIfiled forChapter11protectionsunderBankruptcy
     Code,on Septem ber 15th 2008.


     208.          AU RO R A B AN K FSB ;
                   AURORA BANK FSB (Defendantlprovidesbanking productsand
                   services.ltofferschecking and savingsaccounts,m ortgages,credit
                   cards,andCDs;deyositbymail,directdeposit,andelectronic
                transfers;loan servlces,which includehom e loans,resnance,bond
                adm inistration,and m asterservicing;com m erciallending solutions;
                and online banking services.A UR O R A B AN K FSB w as form erly
                know n asLE           BR O TH ER S B A N K ,FSB ,changed itsnam e
                April24th 2009.Thecom pany wasfotmded in 1921and isbased
                BrandywineBuilding,1000 W estSleetSuite 200,W ilm ington,
                D E 19801.A s ofJuly 1,1999,A UR O R A B AN K FSB operates asa
                subsidiary ofLehm an BrothersBancom Inc.
     Phone:302-654-6179 Fax:302-428-3673
     w ww.aurorabankfsb.com




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      209.         LEH M AN BROTH ERS BAN CORP m C;

      DefendantLeltm an BrothersBancorp lnc.,aD elaware based corporation,tlzrough its

      subsidiariesprovidesm ortgage and retailbanking services.The company w as

      incorporated in 1999 and is based in Brandyw ine Building,1000 W est StreetSuite 200,

      W ilm ington,Delaw are 19801.Lehm an BrothersBancom lnc.operatesasa subsidiary of

      LEHM AN BROTHER S HOLDINGS INC Phone:302-654-6179 Fax:302-428-3673

      210.         LEHM AN BROTHER S HOLDW GS INC;
      DefendantLEHM AN BROTHERS HOLDINGS INC Ct BH1'')wasaglobalfinancial
      servicesfirm untilSeptem ber 15,2008 w hen the firm filed forChapter 11banknlptcy

      protection.Subsequently,22 additionalaffiliatesofLBHI(togetherwith LBHI,the
      tr ebtors'')tiled petitionsin theUnited StatesBanknptcy Courtforthe Southem
      D istrictofNew York seeking relief.The Debtors'caseshavebeen mssigned to Judge

      JamesM .Peck.Pursuantto Docket#86,thesecasesarejointly administeredfor
      proceduralpum oses,m eaning thatallpleadingsfiled in these cmsesw illbe reiected on

      casedocket08-13555(ttM ain CmseDockef').TheM ain CaseDocketcanbeaccessed
     through thewebsitemaintained by theUnited StatesBankruptcy Courtthttp://www.
     nysb.uscourts.gov).LBHIpm icipatedin businessinvestm entbanking,equity
      and fixed-incom e sales,research and trading,investm entmanagem ent,private equity,

      and private banking.Itw as a prim ary dealerin the U .S.Treasury securitiesm arket.Its

     prim ary subsidiaries included LEH M AN B RO THER S lN C .,N euberger Berm an lnc.,

     A URORA LOAN SERW CES,lN C.,SlB M ortgage Corporation,LEHM AN

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     B RO THER S BA N K ,FSB ,Eagle Energy PaM ers,and the Crossroads G roup.The

      firm 'sworldwide headquarterswere in New York City,w ith regionalheadquartersin

     London and Tokyo,asw ellasoffceslocated throughouttheworld.

     A ddressand phonenum berofLEHM AN BROTHERS HOLDINGS INC is 1271Avenue

     ofthe Am ericas,N ew Y ork,N ew Y ork,10020;Phone:646-285-9000.

     Forquestionsrelated to LEHM AN BROTHERS HOLDIN GS IN C'SChapter 11 filing,

     please call:1-866-879-0688

     211.          LEHM AN BROTHERS INC;
                   D efendantLEHM AN B RO TH ER S IN C ;this isthe w ebsite for
                   inform ation pertaining to theU .S.SecuritieslnvestorProtection Act
                   of1970 (SIPA)liquidation ofLebmanBrotherslnc.CtB1''),the
                   U.S.broker-dealerofLehm an Brothers.Jam esW .Giddensw as
                   appointed Trustee fortheliquidation,and H ughesHubbard & Reed
                   LLP w as appointed ascounselto the Trustee.On Septem ber 19,
                   2008,the C ourtentered an order granting the application ofthe
                   SecuritieslnvestorProtectionCop oration(SIPC)forissuanceofa
                   ProtectiveDecreeadjudicatingthatthecustomersofLB1arein need
                   ofprotection afforded by the U.S.SecuritieslnvestorProtection Act
                   of1970(SIPA).Theliquidationhasbeenreferredto,and isnow
                   being adm inistered tm der,the auspices ofThe H onorable Jam esM .
                   Peck,United StatesBankruptcy Courtforthe Southern Districtof
                   New YorktcmseNO.08-01420(JM P)(SIPA).Theliquidation of
                   LB1isoverseen by Jnm esW .Giddens,asthe Trusteeappointed by
                   the United StatesD iskictCourtforthe Southern D istrictofNew
                   York.The Trustee fulfillspublic dutiesassigned underSIPA .The
                   M ain Case Docketcan beaccessed through the website m aintained
                   by the United StatesBankruptcy Court
                   (hûp://-   .nysb.uscouds.gov). (emphasisinoriginal)

     ForquestionsrelatedtoLehmanBrotherslnc.CtBl'')SIPA proceeding,pleasecall:
     1-866-841-7868

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      212.         M ER SC OR P H OLD IN G S,IN C ;

     Defendant,M ERSCORP HOLDINGS,INC.CCM ERSCORF'Ioperatesasanelectronic
     loan registry forthe m ortgage financeindustry in theU nited States.The com pany

     elim inatesthe need to prepare and record assignm entswhen trading residentialand

     com m ercialm ortgage loans.ltalso acts asnom inee in the county land records forthe

     Lenderand Servicer.The com pany servesm ortgage originators,servicers,w arehouse

     lenders,wholesale lenders,retaillenders,docum entcustodians,settlem entagents,title

     com panies,insurers,investors,county recorders,and consum ers.M ERSCORP w as

     form erly know n asM ER S*,Inc.and changed itsnam e to M ERSCORP Inc. in June 1998.

     The com pany w as incom orated in 1995,again in 2011w ith its presentprincipalplace of

     businesslocated at1818Library Street,Suite 300,Reston,V irginia20190-6280.



     213.          M ORTGAGE ELECTROM C REGISTRATION SYSTEM S INC CCM ERS*''I
     DefendantM ortgage Electronic Registration System ,Inc.,d/b/aM ERS* isawholly-

     owned subsidiary ofDefendantW RSCORP;likeG RSCORP,M ERS* isa Delaware

     com oration and shares an addressw ith M ER SCO R P at 1818 Library Street,Suite 300,

     Reston,V irginia 20190-6280.M ERS* wasincorporated in 1995, then again in 1999 by

     the m ortgagebanking industry to create a secondary m ortgagem arket,intem ally

     adm inisterthe buying and selling ofa M ortgage-N o TE,and to sim plify the

     adm inistration ofhom e m ortgages,including foreclosure proceedings.W hen a



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     M ortgage isregistered on theM ERS* System legaltitle isheld in thename ofM ERS*

     and M ERS* actsasM ortgageeofrecord in county land records. W hileN OTES are

     privately indorsed and negotiated m any tim esoverthe life ofthe loan, M ER S* rem ains

     M ortgagee ofrecord provided the indorsee is a M ER S@ 'm em ber.A lthough there isno

     record ofsuch conveyancerecorded on county land records,in the public dom ain,

     M ER S* contro1srecordation ofsuch negotiationsoftitle intem ally, privately.


                   lnM ERS*ownwords;.'MERVV wJ.   çcreated toavoid thecost
                   anddelayscaused by assignmentsofmortgagesand deedsof
                   pw f.To avoid theneedtoprepareand record anassl
                                                                 knment
                   w ith the fbpzn/.vRecorder'
                                             soAcc,Mf#X holdstitleas
                   nomineeforthefrvemortzazee/benefciary ofthe
                   mortgage/deedoftrustand astransfersoccur,f/le.yare
                   recorded on theM EAX computerin a booken/rpsystem s
                                                                 .

                   similartothetransferofstocks.''(1999) femphasis,##v#1


     214.          STRUCTURED ASSET SECURITIES CORPOM TION ;

     DefendantStructured AssetSecuritiesCom oration,since 1987,aDelaw are Cop oration,

     a/k/a a tçSpecial-pum ose-v ehicle .*1''on February 9th 2009 soughtreliefunderChapter

     11Banknzptcy protection;which w asLEHM AN BROTHERS HOLD IN GS lN C'sasset

     securitization tm it,seeking to w ind down w ith itsparentcom pany.The case is

     STRUCTURED ASSET SECURITIES CORP.,09-10558,U .S.Bankruptcy Court,

     Southem DistrictofNew York lM anhattanl.Lehman'scaseisInreLEHM AN
     BROTHERS HOLDINGS lN C.,08-13555,U .S.Bankruptcy Court,Southern Districtof

     New York tM anhatlanl.
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     215.                A SSO CIA TE S LA N D TITLE IN C

     D efendantA ssociatesLand Title 1nc w msfotm ded by and for realestate and m ortgage

     professionals w ith the unique needs ofthe industry in m ind.ltis a Com orate entity serving

     Palm B each County,M artin and St.Lucie counties w ith the highestlevelof

     professionalism since 2004 and executed the C losing betw een LEI'
                                                                      IM A N B RO THE RS

     BA N K FSB and this Petitioner,accepted M ER S* asthe M ortgagee ofrecord. Located at

     4050US Highway 1,Suite319,Jupiter,Florida33478,andphonenumber(561)625-9007.


     216.          TIIEO D O R E SCH U LTZ ;

     D efendantTHE O D O R E SCHU LTZ , as V ice PresidentofM ER S*,Certifying O ftk eris

     Grantor/Assignor;concurrently THEODORE SCHULTZ isAssistantVice President

     ofAUROR A LOAN SERV ICES LLC benefk iary asthe Grantee /A ssignee;10350

     Park M eadow sDrive,Littleton Colorado 80124,Phone:720-945-3000.



     217.          JO A N N REIN ;

     D efendantJOANN REIN ,V icePresidentofM ERS*,asCertifying Oftk er, isacting in

     capacity asGrantor/Assignor,concurrently occupiesan Officein the Default

     R esolution D epartm entas an Em ployee ofA U RO R A LO A N SER V IC ES LLC ,

     benesciary being G rantee /A ssignee ofPetitioner'salleged debt;10350 Park M eadow s

     Drive,Littleton Colorado 80124,Phone:720-945-3000.



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     218.          LA U R A M C CA N N ;

     DefendantLAUR A M CCAN N,Affiant,and an occupantofthe Officetitled Vice

     PresidentDefaultResolution,em ployed by AURORA LOAN SERVICES LLC,10350

     Park M eadow s D rive,Littleton Colorado 80124,Phone:720-945-3000.



     219.          CY N TIIIA W A LLA CE a/k/a C IN D Y W A LLA CE;

     DefendantCYNTI'IIA W ALLA CE a/k/a CINDY W M LACE,A ffiant,and an occupant

     ofthe Office titled,D efaultResolution,em ployed by AURORA. 10350 Park M eadow s

     Drive,Littleton Colorado 80124,Phone:720-945-3000.



     220.          LAW OFFICE OF DAVID J.STERN P.A .;D efendantLAW OFFICE OF

     DAW D J.STERN ProfessionalAssociation,900 South PineIsland Road Suite 400,

     Plantation Florida33324-3920,PhoneNtlmber(954)233-8000;


     221.          D A V ID JAM ES STERN ,Esquire,BA R /B ond N um ber911054;

     DAVID JAM ES STERN ,Esquire,atal1tim esrelevantherein isemployed by the LA W

     OFFICE OF DAVID J.STERN P.A .,900 South Pinelsland Road Suite400,Plantation

     Florida33324-3920,PhoneNumber(954)233-8000;




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     222.          K A R OL S.PIER CE,Esquire,BarY ond N um ber 70279;

     DefendantK AROL S.PIERCE,Esq.,atal1tim esrelevantherein isem ployed by the

     LA W OFFICE OF DA VID J.STERN P.A .,900 South Pine lsland Road Suite 400,

     PlantationFlorida33324-3920,PhoneNumber(954)233-8000;


     223.          CA SSANDR A RACINE-RIGA UD ,Esquire,Barœ ond N um ber450065;

     DefendantCA SSANDRA M CINE-RIGAUD ,Esq.,ata1ltim esrelevantherein is

     em ployed by the LA W OFFICE OF DA VID J.STERN P.A.,900 South Pine lsland

     Road Suite400,Plantation Florida33324-3920,Phone# (954)233-8000;


     224.          M ISTY A LLEN BA RN ES,Esquire,BA R /BO N D N um ber 31001;

     DefendantM ISTY ALLEN BARN ES,Esq.,atal1tim esrelevantherein isem ployed by

     theLAW OFFICE OF DAVID J.STERN P.A.,900SouthPinelslandRoad Suite4ù0,
     PlantationFlorida33324-3920,PhoneNumber(954)233-8000;


     225.          D A RI.IN E D IETZ ;

     D efendantDARLINE DIETZ,N otary expires03/22/2010,em ployed by A URORA

     LOAN SEVICES LLC to acknow ledgethe signam re ofVice PresidentofM ERS@ ,or

     thetwo witnesses,found at;10350 Park M eadowsDrive,in Littleton,Colorado 80124.




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                                                IA?.
                                   M ER s* Is A STRAW M AN


     226.          Forpum ose ofthisaction, M ER S* sha11also referto M ERSCORP and each

     and every shareholderofM ERSCORP,who are eithernam ed hereinabove in the style of

     this case,or others which m ay be nam ed as their identities are revealed.

     227.          < R S* isnota productofany law , stam te or ordinance found in this

     country;

     228.          M ERS* isan entirely sctionalconstruct, inspired,designed,im plem ented,or

     em ployed by DEFENDAN T etal;

     229.          M ERS* isincom orated within the State ofD elaware;

     230.          < R S* w as srstincom orated in D elaw are in 1995, again in 1999;

     231.          < RS* isawholly owned subsidiary ofG RSCORP HOLDING S, IN C;

     232.          M ER S* and M ERSCORP'Sprincipalplaceofbusinessis, atalltim es

     relevant,1595 Spring H illR oad,Suite 310,V ienna,V irginia 22182;

     233.          M ER S* operates a private nationalelectronic registry thattracksbenefcial

     interestand servicing rights associated w ith residentialM ortgage-Loans and any changes

     in those interestsorrights;

     234.          < RS*M em bersregisterloansand reporttransfers, foreclosures,and other

     changesto the statusofresidentialM ortgage-Loanson the M ERS* system ;




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     235.          Petitioner, asB orrow erunilaterally appointed M ER S* on said M ortgage as

     N om inee and M ortgagee in favorofLEHM AN BROTHER S BAN K FSB,in a very lim ited

     capacity,in nam e only asM ortgagee ofrecord,forthebeneftoftheBeneficiary,who at

     a11tim esrelevantisacting forthe benefitoftheDonor;

     236.          M ER S* serves asN om ineeforPetitioner's m ortgage by tacitProcuration;as,

     237.          < R S* did notacceptsaid appointm entasN om inee /M ortgagee of

     Petitioner'sM ortgage by indorsem ent,and there w asno consideration involved;

     238.          < RS* isLender'sN om inee appointed by Petitionerto actin avery lim ited

     capacity,to hold them ortgage lien interest,notto hold an interestin them ortgage lien;

     239.          M ER s* holds legaltitle to the M ortgage, asN om inee forthe beneficial

     interestoftheLenderorlnvestor,Successorand Assigneethereotlbutnotforitself;
     240.          M ERs* hasno benescialinterestin Petitioner'sM ortgage;

     241.          < RS* isnotannm ed party to Petitioner'sProm issorp N ote;

     242.          No legalcontroversy could arise between M ERS* againstPetitionerin

     referenceto theM ortgage in question;

     243.          Legalcontroversy doesexistbetween thisPetitioneragainstM ERS*, the

     wholly own subsidiary ofM ERSCORP,jointly orseverally,with othersnamed oryettobe
     nam ed,created,oractively em ploy an Entity in which itsbusinessm odelactsin such a

      m annerasa conduitto facilitate Fraud;




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     244.          M ER S* M em bers appearto be em ploying the M ER S* system to obfuscate

     w ho the R eal-party-in-lnterestis;as,

     245.          notal1Assir eesare M ERS* M em bers;and,

     246.          essentialpublicland recordsisbeing transferred to a Private recordation

     system *

     247.           Private recordation system iscontrary to the bestinterests ofPetitioneras a

     H om e-o w ner,and is contrary to the bestinterestsofothers sim ilarly situated;

     248.           Private recordation system isalso contrary to Public Policy;as,

     249.          M ERS*M em bersare encouraged notto record each assignm entor

     negotiation ofbenetk ialinterestonto thePublic record,ergo are financially rewarded by

     avoiding paym entofthe associated County recording fees;

     250.          M ER S* c1aim s thatone ofthe advantages of its paperless system s isthat

     m ortgage liensbecom e im m obilized by M ERS* continuing to hold said M ortgagelien,

     while benefcialinterestm ay benegotiated between investorsbm ay ofindorsem entand

     delivery am ongstM ERS(
                           1'M em bers;

     251.          M ERS* claim sthatone ofthe advantagesofitspaperlesssystem sistransfer

      ofservicing rights from one M ER S* M em berto anotherM ER S* M em ber;how ever,

      252.         Lender'spriority isestablished by publicnotice;




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     253.           public notice requiresrecordation ofPetitioner'sM ortgagepost-closing

     within the county wherein Petitioner'sreal-property lies,and sam e isapplicableto a1lother

     A m ericans sim ilarly situated;

     254.          Petitioner'soriginalM ortgagee isrecorded underthe nam e ofM ERS* in this

     state'sConstitutionally Created Office occupied by thePublic'sRegistrarofDeeds;

     255.          subsequentoff-record(intra-M ERs*)negotiationofPetitioner'sdebtwill
     retain itsoriginalpriority in thePublic,with M ERS* asM ortgagee ofrecord;how ever,

     256.          M ER S* isnottruly M ortgagee unless the legaldefinition ofM ortgagee has

     som enew m eaning Petitionerisunaware oftbecause,

     257.          M ERS* did notloan Petitionerany m oney;and,

     258.          Petitionerdoesnotowe any money to M ERS ;

     259.          < RS*, by itsown adm ission doesnotstore genuine docum entsorcopies

     thereofneitherPetitioner'sNOTE norM ortgage;

     260.          M ERS* can notbem ortgagee because ithasno enforceable rightin the debt

     obligation securing theM ortgage;and,

     261.          M ERS*willnotsufferan injury shouldPetitionerfailtomakepaymentson
     the M ortgage;as such,

     262.          < RS* m ay be a N om inee a/k/a straw m an, butisnota legally cognizable

     M ortgagee w ith right,title nor interest,ratheractsforM ortgagee in nam e only;assuch,

      263.         M ERs* failsto fallw ithin the fourcom ersofthe legalterm ofçtM ortgageei''



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     ergo,

     264.          Petitioner'sproperty isnotm ortgaged to M ERS*,notby agreem ent,

     Petitionerunilaterally appointed M ERS* asM ortgagee in nam e only forthe benefitof

     LEHM AN B RO TX R S B AN K FSB ;

     265.          Petitionerunilaterally appointed M ER S* asM ortgagee w ithoutconsideration;

     266.          < RS* isaBanknlptcy-Rem oteC*1specialpurposevehicle;

     267.          M ERs* holdsno assetswhich includesthepublically recorded M ortgage

     nam ing Petitioner as M ortgagor;

     268.          M ERS* isM ortgageeofrecord foroverthirty m illion active m ortgages,

     valued in hundreds-of-billions,perhapstrillions;

     269.          M ER S* based on its dim inutive size and m eager assetbase is grossly

     undercapitalized to coverthepotentialliability stemm ing directly 9om itsroleasprim ary

     m ortgagee on tensofm illionsofM ortgages;

     270.          M ER S* is a Strawm an;seeLandm ark N ationalBank v. K esler,216 P.3d 158

     (SupremeCourtofKansas,2009).
     271.          M ERS* isessentially ashell,alteregoofitsCreatorts)orM emberts);
     272.          M ERS* doesnothaveany em ployees;or,

     273.          M ERS* so called employeesare shared w ith M ERSCORP, which have avery

     close w orking relationship asto appear as em ployeesw ho w ork forthe sam e Entity;as,




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     274.          M ER S* PersonnelPolicy doesem anate from a com m on source,

     G RSCORP;

     275.          M ERS* and M ERSCORP havecom m on Directors, orcom m on Offcers;

     276.          operations ofM ER S* and M ER SC OR P share a dependency;and,

     277.          M ERSCORP wholly ownsand dictatespolicy to, and ofM ER S*;

     278.          M ERS* hastw entp thousand Certifying Officers;

     279.          M ER S*'tw entp thousand Certifying O ffcers are notpaid by M ER S*;

     280.          M ERS* system a1legedly tracksthenegotiation ofbenefcialinterestand to

     w hatentity said N O TE isconveyed to,on itsM ILESTO N E R EPO R T;

     281.          < RS*'U LESTON E REPORT isa com puterretained record ofeach

     Assignor/A ssigneetransaction thattook place on the Private system ofM ER S*;if,

     282.          Successor is a M em ber;and if,

     283.          Successor-M em berup-dates the M ER S* system w ith itsnegotiation;as,

     284.          in regularcourse ofbusinessM ERS* doesnotrecord each negotiation of

     Petitioner'sProm issorp N oW ,each successorM em berisencouraged to do so;

     285.          M ER S* system doesnotdisplay the true identity ofeach H older-in-D ue-

     Course ofPetitioner'sN OTE;because,

     286.          N On-M ERS* M em berasSuccessor-in-lnterestcan notup-datethe current

     < RS* electronic registration system for lack ofaccess;as such,




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